  Case 19-03049        Doc 26     Filed 04/30/20 Entered 04/30/20 11:10:31             Desc Main
                                    Document     Page 1 of 2


                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


In Re:                               )
                                     )
VINROY REID,                         )                  Case No. 18-31436
                  Debtor             )                  Chapter 7
____________________________________ )
                                     )
Y2 YOGA COTSWOLD, LLC,               )
                                     )
                  Plaintiff,         )
                                     )                  Adversary Proceeding No. 19-03049
v.                                   )
                                     )
V. R. KING CONSTRUCTION, LLC;        )
VINROY REID; A. BURTON SHUFORD, )
AS CHAPTER 7 TRUSTEE FOR V.R.        )
KING CONSTRUCTION, LLC and           )
VINROY REID                          )
                                     )
                  Defendants.


     AFFIDAVIT, VERIFICATION OF PLEADING AND DECLARATION UNDER
                          PENALTY OF PERJURY

         The undersigned, David G. Guidry, being first duly sworn, deposes and says:

        1.    I am a resident of Mecklenburg County, North Carolina and I have been a member
of the North Carolina Bar since 2008.

       2.      I have read the Complaint for Declaratory Relief to Confirm Validity, Priority and
Extent of Liens on Real Property and Allow Charges Pursuant to 11 U.S.C. § 506 (the “Complaint”)
which was filed with the Court in this adversary proceeding on August 23, 2019, and I know and
have personal knowledge of the contents thereof.

       3.      I was retained by the Plaintiff Y2 Yoga Cotswold, LLC (“Y2") in April, 2017, in
connection with the state court litigation to which reference is made in the Complaint. I continue to
represent Y2 in connection with its claims against the Defendants herein.

         4.     The allegations in the Complaint are true and correct to the best of my knowledge.

       5.      The Exhibits attached to the Complaint are true and correct, and are what Plaintiff
purports the Exhibits to be, to best of my knowledge.
  Case 19-03049        Doc 26      Filed 04/30/20 Entered 04/30/20 11:10:31               Desc Main
                                     Document     Page 2 of 2


       6.       If called on to testify in this proceeding I would competently testify as to the truth of
the matters stated in the Complaint.

        7.      I declare under penalty of perjury that the foregoing is true and correct.


        Dated this _30_ day of April, 2020.



                                                David G. Guidry
